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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MITCH ABEITA,                                 §
                                              §
              Plaintiff,                      §
                                              §
v.                                            §         Civil Action No. 3:19-CV-0921-K
                                              §
UNITED SERVICES AUTOMOBILE                    §
ASSOCIATES DBA USAA,                          §
                                              §
          Defendant.                          §

                                           ORDER

       Plaintiff filed this Complaint against Defendant for allegedly violating the Telephone

Consumer Protection Act (“TCPA”). It appears from the face of Plaintiff’s complaint that

there is no connection between this case and the Dallas Division of the Northern District of

Texas. Plaintiff resides in Grand Prairie, Texas. Inquiry of Plaintiff’s counsel confirmed that

Plaintiff’s residence is located in the Tarrant County portion of Grand Prairie. Tarrant County

is located in the Fort Worth Division of the Northern District of Texas. Accordingly, on the

Court’s own motion, this case is transferred to the United States District Court for the

Northern District of Texas, Fort Worth Division. 28 U.S.C. § 1404(a), 1404(b).

       SO ORDERED.

       Signed April 23rd, 2019.

                                           ______________________________________
                                           ED KINKEADE
                                           UNITED STATES DISTRICT JUDGE




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